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EXHIBIT 2

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the chili off winter evenings; irs rich `<:6101' paiette complements any
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machine washablc. 54” x 70` 580.00 n l n

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Pecil)od_y Dt‘ecim Berl Siril\' inco the ultimate indulgence of tlie l`arnecl Peabod}" sleep experience
Our plusb pillow-top mattress and pre on- engineered box sprin' provide \'€ars el opiirn-al support
'1ncl supreme eomlort Call our u)ll- lree number for shipping eosts and deli\el.'\ inlormniion_ ii -`
$l,~l'OD.DO§ C_\LiFOl\I\lA l\[i\l(_\ '.`»1,400.00`\ QUEEN 512 0.00. Fl.il..l.. l'bl,UOO.GU`, T\‘\'l:\. 'SSOG.GO

Toucll of Down Pil low This exclusive two-eliamber feather and down pillow provides maximum
sleeping comfort Subsmntial interior chamber of leathers and down is surrounded by n separate
ebamber ol luxurious pure down lor superior comfort and optimum neck and Spine ailig_nmenl.
5'1'.-\NDARD $55.00; t<tNG 570.00

Down Blorihet Duck_down blanket with 100% eottori, 230-ehrezid eount co\-'er. Mael'iine `washable.
KING $ZO0.0G; QUE_EN $175.00

‘I’eabocly Dticlz' Linens Tl'tree embroidered ducks
add a touch of Peabody elegance to our striped, tone-
on'tone bed linens Classie design harmonizes with
any deeor; easy c_are` poly-cotton i'abn'c affords years
oleomlortable useA Availzible in King and Queen size
winn Fis\.i' 395.00; QUEEN Fi_-n‘ $SS.OO: i<iNt; Fn'i'r;i;>
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54" long o=\t si'/.l,: ins i-it')s'i' SOU.OO

i_ounge Cliair Pool Towel Add a note ol luxu:y to beach or poolside with this oversized, IOO%
cotton terry towel embroidereci with three Peabody ducks $5‘5.00

Pectbody Spa Gift Set Give the gift of personal indulgence with the Peabody collection o[ bath and
body essentials Fuil~'sized bottles of botanically enriched bath gel. shampoo, co'nditioner‘ and body
lotion are accompanied by three whimsicai dule soaps and a botanicai bath bar that soo`thes and
moisturizes Attrzictivel}r packaged in a keepsake Peabody cannister_ 565.00

 

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Penbody 5{€¢:3¢ Knivcs These generously serrath
knives slice through thick steaks with ease Each
features corrosion-resistant stainless steel blade

and an ergonornic. oversizecl design Set of four is
handsornely displayed in Peabotly-crestecl gift box.
Bo)<i=,o ser or~ 4 $65.00

 

Dessert Shooters Dirninutive desserts take on an

undeniable air of elegance when you serve them .in

our gently fluted, Z. 5 ounce Dessert Shoot`ers. An

attractive stainless Steel caddy hoch the set. lncl_ude_s
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Copper Cookie Cutter Set Chels of allages' will lind
our polished copper cookie cutters iIresistible_ `Ihe set

of two (momma and baby duck) comes packaged with
the official Peabody Duck Cookic recipe (5crumptious!) `
Handcralled, they will add charm to your kitchen when
not in usc. SE'l`OFZ 325.00

 

 

 

 

 

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Pcabody $caii]r Measuring 10" wide by a generous 45" long. otir
100% silk scarf features a eoliage of brillianily colored waterfowl lt
makes an appealing accent for any fashionT from winter coats to
summer dresses 251]0.00

Ditck Tie Our 100% si}k mill ties god from boardrooin to br_tirich
with equal ease and sport the Peabody logo on the bacl<. Your choice
of stylish yellow o_r classic blue. Tradi`ticinal dimensions are 3 3/4" wide
by 57" long 51 10.00

 

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